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                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                     ___________________

                                         No: 18-8001
                                     ___________________

    Ronald McAllister, on behalf of himself and all others similarly situated; Brad Pearlman;
  Envision, LLC; Robert D. Bohm; Sue Bohm; Edward E. Mock; Richard Arnold; R. McNeely
                                           Cochran

                                                 Respondents

                                                v.

 The St. Louis Rams LLC, A Delaware General Partnership, doing business as St. Louis Rams
                                     Partnership

                                        Petitioner
______________________________________________________________________________

       Appeal from U.S. District Court for the Eastern District of Missouri - St. Louis
                                  (4:16-cv-00172-SNLJ)
                                  (4:16-cv-00262-SNLJ)
                                  (4:16-cv-00297-SNLJ)
______________________________________________________________________________

                                          JUDGMENT

       The joint stipulation for dismissal of this appeal is granted. The appeal is hereby

dismissed in accordance with the Federal Rules of Appellate Procedure 42(b).

       The Court's mandate shall issue forthwith.

                                                     November 05, 2019




Order Entered Under Rule 27A(a):
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




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